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                       UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF CONNECTICUT (BRIDGEPORT)


IN RE: DALE MORGADO,                                            CASE NO. 19-51232 (JAM)

                                                                CHAPTER 7
                DEBTOR
                                                                OCTOBER 17, 2019


               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       Pursuant to Federal Rule of Bankruptcy Procedure 9010, the undersigned hereby enters

her appearance for and on behalf of creditors, Robert Lee Ruszkowski, Jr., Dana Renee Griffith

and Jill Kathleen King, in the above-captioned case. The undersigned requests that notices of all

matters and filings in this case, including all of those notices required to be send pursuant to

Federal Rule of Bankruptcy Procedure 2002, be sent to the undersigned attorney.


Dated: Greenwich, Connecticut
       October 17, 2019
                                                         /s/ Jessica M. Signor
                                                        Jessica M. Signor, Esq.
                                                        Ivey, Barnum & O’Mara, LLC
                                                        170 Mason Street
                                                        Greenwich, Connecticut 06830
                                                        Telephone: (203) 661-6000
                                                        Facsimile: (203) 661-9462
                                                        Federal Bar No.: ct30066
                                                        Email: jsignor@ibolaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2019, a copy of the foregoing was filed electronically

and therefore served electronically or by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the

Court’s CM/ECF System.




                                                       /s/ Jessica M. Signor
                                                    Jessica M. Signor, Esq. (ct30066)




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